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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Lynal “Leonard” Medeiros,                  )
                                           )
       Plaintiff,                          )
                                           )
       v.                                  )      No. 09 C 6170
                                           )
Client Services, Inc., a Missouri          )
corporation,                               )
                                           )
       Defendant.                          )      Jury Demanded

                                        COMPLAINT

       Plaintiff, Lynal “Leonard” Medeiros, brings this action under the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that

Defendant’s debt collection actions violated the FDCPA, and to recover damages for

Defendant’s violation of the FDCPA, and alleges:

                               JURISDICTION AND VENUE

       1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

       2.      Venue is proper in this District because: a) part of the acts and

transactions occurred here; and, b) Defendant resides and transacts business here.

                                          PARTIES

       3.      Plaintiff, Lynal “Leonard” Medeiros ("Medeiros"), is a citizen of the State of

Massachusetts from whom Defendant attempted to collect a delinquent consumer debt,

owed for a Capital One Bank credit card, despite the fact that he was represented by

the legal aid attorneys at the Chicago Legal Clinic's Legal Advocates for Seniors and

People with Disabilities program ("LASPD"), located in Chicago, Illinois.
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       4.     Defendant, Client Services, Inc. (“Client Services”), is a Missouri

corporation that acts as a debt collector, as defined by § 1692a of the FDCPA, because

it regularly uses the mails and/or the telephone to collect, or attempt to collect,

delinquent consumer debts. Client Services operates a nationwide delinquent debt

collection business and attempts to collect debts from consumers in virtually every

state, including consumers in the State of Illinois.

       5.     Defendant Client Services is licensed to conduct business in Illinois and

maintains a registered agent here. See, record from the Illinois Secretary of State

attached as Exhibit A.

       6.     Defendant Client Services is licensed as a collection agency in Illinois.

See, record from the Illinois Division of Professional Regulation attached as Exhibit B.

                                FACTUAL ALLEGATIONS

       7.     Mr. Medeiros is a senior citizen, with limited assets and income, who fell

behind on paying his bills, including his Capital One Bank credit card debt. When

Defendant Client Services began trying to collect a credit card debt from Mr. Medeiros,

he sought the assistance of legal aid attorneys at the Chicago Legal Clinic’s LASPD

program, regarding his financial difficulties and Defendant Client Services' collection

actions.

       8.     On July 21, 2009, one of Mr. Medeiros's attorneys at LASPD faxed a letter

to Defendant Client Services, dated July 20, 2009, advising it that Mr. Medeiros was

represented by counsel, and directing Client Services to cease contacting him and to

cease all further collection activities because Mr. Medeiros was forced, by his financial




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circumstances, to refuse to pay his unsecured debt. Copies of this letter and fax

confirmation are attached as Exhibit C.

       9.     Nonetheless, on July 27, 2009, Client Services called LASPD to demand

that its client, Mr. Medeiros, pay/settle his account, and on July 28, 2009, sent Mr.

Medeiros a letter, in care of LASPD, demanding payment/settlement of the Capital One

debt. A copy of this letter is attached as Exhibit D.

       10.    All of the collection actions at complained of herein occurred within one

year of the date of this Complaint.

       11.    Defendant’s collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994).

                       Violation Of § 1692c(c) Of The FDCPA --
                             Failure To Cease Collections

       12.    Section 1692c(c) of the FDCPA prohibits a debt collector from continuing

to demand payment of a debt that the consumer has indicated that they refuse to pay.

See, 15 U.S.C. § 1692c(c).

       13.    Here, the letter from Mr. Medeiros' agent, LASPD, told Defendant Client

Services to cease collections because Mr. Medeiros was forced by his financial

circumstance to refuse to pay his debts (Exhibit C). By continuing to demand payment

of the debt at issue, Defendant Client Services violated § 1692c(c) of the FDCPA.

       14.    Defendant Client Services’ violation of § 1692c(c) of the FDCPA renders it

liable for statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.




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                                  PRAYER FOR RELIEF

       Plaintiff, Lynal “Leonard” Medeiros, prays that this Court:

       1.     Find that Defendant Client Services' debt collection actions violated the

FDCPA;

       2.     Enter judgment in favor of Plaintiff Medeiros, and against Defendant Client

Services, for statutory damages, costs, and reasonable attorneys’ fees as provided by §

1692k(a) of the FDCPA; and,

       3.     Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiff Medeiros, demands trial by jury.

                                                     Lynal “Leonard” Medeiros,

                                                     By: /s/ David J. Philipps_______
                                                     One of Plaintiff's Attorneys

Dated: October 2, 2009

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